Case 2:04-cV-02985-.]PI\/|-de Document 8 Filed 06/09/05 Page 1 of 2 Page|D 5

 

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:N THE UNITED sTATEs DISTRICT COURT ~ D,r;_
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CHYU,J» WE§ OHG
DORA W. MOORE, W-D. 0~;-§~;.;;£~;$'%18~
Plaintiff,
vs. NC). 04-2985-Mav

JOHN E. POTTER,
United States Postmaster,

Defendant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge Jon P.
McCalla in exchange for Case NO. 2:04-215l-M1V, Dawn M. Smith v.
Anthonv J. Principi, Secretarv of the Department of Veterans
Affairs. The parties shall, On all pleadings and Correspondence
related to this matter, change the judge's initials in the case
number from “Ma” to “Ml.”

It is so ORDERED this 8`M`*day cf June, 2005.

y f mr

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 8 in
case 2:04-CV-02985 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

